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                             IN THE UNITED STATES BANKRUPTCY COURT FOR THE
                                       NORTHERN DISTRICT OF TEXAS
                                             ABILENE DIVISION


In re                                                   §
                                                        §
BIG COUNTRY MOBILE FLEET SERVICES                       §                           Case No. 19-10280
                                                        §
        Debtor                                          §                           Chapter 7



                                 RESPONSE TO TRUSTEE’S NOTICE OF
                      INTENT TO SELL PROPERTY OF THE ESTATE AT PRIVATE SALE
                                          (DOCKET NO. 5)


TO THE HONORABLE BANKRUPTCY JUDGE:

  NOW COMES Taylor CAD and files its Response to Trustee’s Notice of Intent To Sell Property Of The Estate

At Private Sale and would show the Court the following:

        1.    Taylor CAD is a political subdivision of the State of Texas. There are delinquent taxes for the 2019

              tax year on real property and business personal property located in this taxing jurisdiction. As of

              January 1, 2020 , the 2020 ad valorem tax lien attached to the real property.

        2.    These taxes are secured with a security interest that is superior to that of any other secured claim

              under the Texas Constitution, Article VIII, Section 15, and the Texas Property Tax Code, Section

              32.01 and Section 32.05(b). Stanford v. Butler, 826 F.2d 353 (5th Cir. 1987), 11 USC § 506; Universal

              Seismic Associates, Inc., 288 F.3d 205 (5th Cir. 2002); In Re Winn's Stores, Inc.; 177 B.R. 253 (Bktcy

              W.D. Tex 1995).

        3. Taylor CAD does not oppose the sale of the property, but is entitled to adequate protection of its liens

              and requests the 2019 ad valorem taxes be paid and the 2020 taxes be prorated at closing and that the

              tax liens for the 2020 tax year shall be expressly retained until the payment of the 2020 taxes, plus any

              penalties and interest that may accrue thereon, in the ordinary course.

        4.      The inclusion of the following language in the Order Authorizing the Sale would be adequate to

              enable Claimant to withdraw its Objection to this Sale:



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               The 2019 ad valorem property taxes are to be paid in full and the 2020 taxes paid pro rata
               from the proceeds of the sale, at the time of the closing of the sale transaction, and the ad
               valorem tax liens for the 2020 tax year are hereby expressly retained until the payment by
               the purchaser of the 2020 ad valorem taxes, and also any penalties or interest which may
               ultimately accrue to those 2020 taxes, in the ordinary course of business.

   WHEREFORE, Taylor CAD does not object to the Trustee’s Notice Of Intent To Sell Property Of The Estate

At Private Sale but requests this Court order inclusion of such provisions in the Final Order as would protect the

lien position of Taylor CAD and its liens be attached thereto with the priority they otherwise hold pursuant to

non-bankruptcy law, and further requests other and such relief as is just and proper.

Dated: March 13, 2020

                                                    Respectfully submitted,

                                                    McCREARY, VESELKA, BRAGG & ALLEN, P.C.


                                                    /s/Tara LeDay
                                                    Tara LeDay
                                                    State Bar Number 24106701
                                                    P. O. Box 1269
                                                    Round Rock, Texas 78680
                                                    Telephone: (512) 323-3200
                                                    Facsimile: (512) 323-3205

                                                    ATTORNEYS FOR TAYLOR CAD


                                         CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the foregoing Response was sent to Ashton R. Anderson, Attorney
for Debtor, 1053 S. 3rd St. Abilene, TX 79602 and Harvey Leon Morton; Chapter 7 Trustee, 1604 Avenue M
P.O.Box 10305 Lubbock, TX. 79401 and to those parties listed on the Court’s Notice of Electronic Filing on on
March 13, 2020:

                                                       /s/Tara LeDay

                                                       Tara LeDay




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